   Case 0:09-cv-60454-RLR Document 48 Entered on FLSD Docket 05/24/2023 Page 1 of 5
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          Case 0:09-cv-60454-RLR Document 48 Entered on FLSD Docket 05/24/2023 Page 2 of 5

AO 442 (
       '
       Rev.11/l1)ArrestWan'
                          ant


                                 U NITED STATES D ISTRICT C OURT
                                                          forthe
                                         So.Dist.ofForida,D.C.Dist                Iz';
               United StatesofAm erica
 Partiesviolating18USC>ï384Sedi
                              tiousConspiracy              )       caseN o. 09-60454-FLSD,10-00063-DC
  asseding rights granted by US Patent#6,889,615 or        )
    BPIpatents,wi  thoutpermission orauthority,by          )
   makingclaimsorrequestingjudgmentsbasedon                )
        patentri
               ghts in federalorstate matters.             )
                                                           )

                                             A R R E ST W A R R A N T
To:     Any authorized 1aw enforcementofficer

        YOU ARE COM M ANDED toarrestandbringbeforeaUnitedSGtesmagistratejudgewithoutunnecessary delay
(nameofpersontobearrested) Partiesviolating 18 U5C>2384 Seditious Conspiracy by m aking claims based on patentrights. ,
who isaccused ofan offenseorviolation based on the following docum enttiled with the court:

E
# Indictment         ED SupersedingIndictment     D lnfonnation       O Supersedinglnformation O Complaint
E
D Probation Violation Petition     (D Supervised ReleaseViolation Petition           (7 Violation Notice O Orderofthe Court

Thisoffenseisbriefly described asfollows'
                                        .
 Defendants have consired and commited m ultiple violationsof18 U5C>2384 by denying rulings in U.S.DistrictCoud or
 beforetheDOJ(admisistrative)based on alleged/orbogusfindingsorclaimstopatentrights,whereDOJDecision#4
 defined changestothose rightson behal
                                     foftheUSPTO and plaintiffs2defendantsclaim righttojudgmentsanddefendants
 havesoughttodenyplaintilstheirfederaljudgementsbyforce,claimlng Karen HoganBridgewaterorW illiam Johnson,
 haverightsorcangrantrights,wheredefendantsowe instantplaintis largejudgmentsviadefault,whereDefendantshave
 nogroundstodenyplaintiffjudgements,orrequestadefendantjudgmentsandth reforeviolate 18 U5C>2384 Sedi   tious
 Conspiracy.                                                                y.v
                                                                           z'

                                                                      /a
                                                                     y,         r.                 . .     . ... ....
Date:       05/24/2023
                                                                                      Issuingofficer'
                                                                                                    ssignature
City and state:                                                    PaulBridgewaterjscotland Yard Rep and DOJ Rep
                                                                                         Printed nameand title

                                                          Return

        Thiswarrantw asreceived on (date)                      ,and the person wasarrested on (date)
at(cityandstate)

Date:




                                                      #      A'
                                                      # &./-'                   W*                  /5
           Case 0:09-cv-60454-RLR Document 48 Entered on FLSD Docket 05/24/2023 Page 3 of 5

AO 442(Rev.11/11)AzrestWarrant

                                 U NITED STATES D ISTRICT C OURT
                                                         forthe
                                            So.Dist.ofForida,D.C.Dist        Z+
               United StatesofAmerica
 Partiesviolating 18 U5C72384 Sedi
                                 tiousConspiracy           )       caseN o. 09-60454-FLSD,10-00063-DC
  by opposing DOJ Decision M Am ended by making            )
 claim sordenying ri
                   ghts asserted in DOJ Decision //4       )
             infederalorstate m atters.                    )
                                                           )
                                                           )

                                               A R R E ST W A R R A N T
To:     Any authorized law enforcem entofficer

        YOU ARE COM M ANDED toarrestandbringbeforeaUnited Statesmagistratejudgewithoutulmecessary delay
(nameofpersontobearrested) Padies violating 18 U5C>2384 Seditious Conspiracy by denying rights based on divorce status. ,
who isaccused ofan offense orviolation based on thefollowing docum entfiledw ith thecourt:

# lndictment          E
                      D Supersedinglndictment      O Information      O SupersedingInformation O Complaint
E
D Probation Violation Petition     E
                                   D Supervised ReleaseV iolation Petition     O violation N otice D OrderoftheCourt

This offenseisbriefly described asfollows:
 Defendants have consired and comm i  ted multiple violations of18 U5C>2384 bydenying rulings in U.S.DistrictCourtor
 beforetheDOJ(admisistrative)basedonalleged/orbogusfindingsconcerning plaintiffsdivorcestatus,wherein2007-8
 22nd CirMIdeclared instantplainti
                                 ffdivorcedwithoutjurisdiction,andJdg Borman08-13786-EDM1liedclaimingthe
 divorcewasnotremoved,anddefendantshavesoughtto deny plainti      ffstheirfederaljudgementsbyforce,claiming Plainti
                                                                                                                  ff
 is unable to representthemself,oris Iegall
                                          y connected to Karen Hogan BridgewaterorW illiam Johnson,where defendants
 owe instantplainti
                  ffIargejudgmentsviadefault,whereDefendantshave no groundstodenyjudgementsand therefore
 violate 18 U5C>2384 Sedi
                        tious Conspiracy.
                                                                               7


Date:        05/24/2023
                                                                                   Issuing tl
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                                                                                                ?r'
                                                                                                  sJfgntz/l/rc
City and state: M i
                  am i,FL                                          PaulBridgewater,scotland Yard Rep and DOJ Rep
                                                                                    Printed name and title

                                                         Return

         Thiswarrantwasreceived on (date)                      ,and the person wasarrested on (date)
at(cityandstate)

Date:
           Case 0:09-cv-60454-RLR Document 48 Entered on FLSD Docket 05/24/2023 Page 4 of 5

AO 442 (Rev.11/11)ArrestWarrant                                                                                           é.
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                                  U NITED STATES D ISTRICT C OURT
                                                               forthe
                                          So.Dist.ofForida,D.C.Dist                 Il
                                                                                     v
                United StatesofAm erica
 Padiesviolating 18 U5CY2384 SeditiousConspiracy                )
   by opposing IFP doctrines and making claims or
                                                                )         caseNo. 09-60454-FLSD,10-00063-DC
 denying rights based on alledged indegency in federal          )
                    orstate m atters.                           )
                                                                 )
                                                                 ).

                                              A R R E ST W A R R AN T
         Any authorized law enforcem entofficer

         YOU ARE COM M ANDED toarrestandbringbeforeaUnitedSGtesmagistratejudgewithoutlmnecessary delay
(nameofpersontobearrested) parties violating 18 U5C>2384 Seditious Conspiracy by denying rights based on income.                 ,
who isaccused ofan offense orviolation based on thefollowing docum entfiledwith the court:

# lndictment           O Supersedinglndictment      E
                                                    D lnformation            O Supersedinglnformation O Complaint
E
D Probation Violation Petition      O Supervised ReleaseV iolation Petition            D violation N otice D Orderofthe Court

Thisoffense isbriefly described asfollows:
 Defendants have consired and comm i  ted mul
                                            tiple violations of18 U5C>2384 bydenying rulings in U.S.DistrictCourtor
 beforetheDOJ(admisistrati
                         ve)basedonalleged/orbogusfindingsconcerning plaintiffsincome,where in2006-922ndCir
 Mldeclared instantplainti
                         ffwithoutincome,and Jdg Borman 08-13786-EDM 1approved an IFP,and defendants have
 soughttodenyplainti
                   ffstheirfederaljudgementsbyforce,claiming Plainti
                                                                   ffisunabletorepresentthemself,where
 defendantsoweinstantplaintiffIargejudgmentsviadefault,where Defendantshave no groundsto denyjudgementsand
 therefore vi
            olate 18 U5C>2384 Seditious Conspiracy.
                                                                                                  '
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                                                                                          Issuing t
                                                                                                  p
                                                                                                  ' ccr'
                                                                                                       ssignature

City and state:                                                           PaulBridgewater,scotland Yard Repand DOJ Rep
                                                                                           Printed nameand ffffc

                                                               R eturn

        Thiswarrantw asreceived on (date)                - -        ,   and theperson wasarrested on (date)
at(cit
     yandstate)

D ate:
             Case 0:09-cv-60454-RLR Document 48 Entered on FLSD Docket 05/24/2023 Page 5 of 5

AO     442 (Rev.11/11)ArrestWarrant
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                                      U NITED STATES D ISTRICT C OURT
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                                               So.Dist.ofForida,D.C.Dist           ID7
                                                                                     +'
                                                                                     .
                  United StatesofAm erica
    Partiesviolating18USC>5384SeditiousConspiracy               )
                                                                )         caseN o. 09-60454-FLSD,10-00063-DC
     by using seized trademarksand sei
                                     zed institutions
      (defendants) tomakeclaimsorassertrightsfor                )
    plaintiff,oralterplaintiffs claims orri
                                          ghts in federalor     )
                         state m atters.                        )
                                                                )

                                                    A R R E ST W A R R AN T
To:       M y authorized 1aw enforcem entofficer

          YOU ARE COM M ANDED toarrestandbringbeforeaUnited Statesmagistratejudgewithoutunnecessarydelay
(nameofpersontobearrested) Parties violating 18 U5C>2384 Sediti
                                                              ous Conspiracy by making claims based NAACP tradem ark,
who isaccused ofan offense orviolation based on thefollowing docum entfiled with thecourt:

E
* Indictment             E
                         D Supersedinglndictment          E
                                                          D Information     E
                                                                            D Supersedinglnformation O Complaint
E
D Probation Violation Petition          I
                                        D Supervised ReleaseViolation Petition       O violation N otice O OrderoftheCourt

Thisoffense isbriefly described asfollow s:
 Defendants have consired and com mited m ultiple violations of18 U5C>2384 by denying rulings in U.S.DistrictCourtor
    beforethe DOJ(admisistrative)basedon alleged/orbogusclaimsoperationofthe NAACP,wheretheNAACP trademark
    and I
        /P and institutionwas seized by plaintils,andwhere defendants have soughtto deny plaintilstheirfederal
    judgementsbyforce,claiming NAACP hasrightsorcangrantrights,wheredefendantsoweinstantplaintiffIarge
    judgmentsviadefault,whereDefendantshavenogroundstodenyplaintisjudgements,orrequesta defendantjudgment
    oruse seized trademarks and therefore violate 18 U5C>2384 Seditious Conspiracy. IntlNAACP '
                                                                                              s a new trademark
    owned and used by BPIforadvertising civiladvocacy.                         ,
                                                                                                                  x'*



Date:          os/24/2o2a                                                 /
                                                                                      Issuing o-Mccr'
                                                                                                    sâ'f
                                                                                                       gnt
                                                                                                         z/l/rc

City and state'
              .                                                           PaulBridgewaterjscotland Yard Rep and DOJ Rep
                                                                                          Printed name andtitle

                                                               R eturn

         Thisw arrantwasreceived on (date)                          ,and theperson wasarrested on (date)
at(cityandstate)

D ate:
